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                                   5                                       UNITED STATES DISTRICT COURT

                                   6                                      NORTHERN DISTRICT OF CALIFORNIA

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                                   8     SYMANTEC CORPORATION, ET AL.,                        Case No. 17-cv-04414-JST
                                                            Plaintiffs,
                                   9
                                                                                              AMENDED SCHEDULING ORDER
                                                   v.
                                  10

                                  11     ZSCALER, INC.,
                                                            Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Pursuant to the case management conference conducted this morning, and considering the

                                  15   parties’ respective scheduling proposals, ECF Nos. 105, 106, the Court hereby sets the following

                                  16   additional and amended case deadlines pursuant to Federal Rule of Civil Procedure 16 and Civil

                                  17   Local Rule 16-10:

                                  18
                                                                               Event                                  Deadline
                                  19
                                            Parties’ service of assignor estoppel related interrogatories,
                                  20        document requests, requests for admission; Zscaler to identify
                                            persons most knowledgeable for each of the following topics:
                                  21

                                  22           •        Development of Zscaler’s SSL technology from 2011-
                                                        2014;
                                  23
                                               •        Development of Zscaler’s URL and file type filtering     September 12, 2018
                                  24                    technology from 2011-2014; and
                                  25
                                               •        Zscaler’s competitive intelligence for Blue Coat from
                                  26                    2011-2014.

                                  27        Zscaler also to confirm that Mr. Dolsen’s emails are preserved
                                            and available for email discovery as of his start date at Zscaler.
                                  28
                                       Case 3:17-cv-04414-JST Document 108 Filed 09/06/18 Page 2 of 3




                                   1                                  Event                                       Deadline

                                   2
                                        Symantec to identify persons most knowledgeable on the
                                   3    following topics:

                                   4       •   Mr. Dolsen’s alleged knowledge regarding the operation
                                               of Blue Coat’s products
                                   5

                                   6       •   Symantec’s contention that Zscaler availed itself of Mr.
                                               Dolsen’s knowledge and assistance to conduct its
                                   7           infringing activities
                                   8    Parties to identify search terms and up to four custodians for e-
                                        mail discovery related to assignor estoppel, subject to the
                                   9                                                                         September 14, 2018
                                        custodian and search term limits set forth in the ESI order, ECF
                                  10    No. 74

                                  11    Zscaler to produce source code history information and 2011
                                                                                                             September 14, 2018
                                        source code version
                                  12
Northern District of California
 United States District Court




                                        Service of written objections and responses to assignor estoppel
                                  13                                                                         September 26, 2018
                                        related requests
                                  14
                                        Completion of meet and confer on objections and selection of
                                                                                                             September 28, 2018
                                  15    search terms

                                  16    Completion of production responsive to assignor estoppel
                                        related discovery requests and service of privilege logs related to October 26, 2018
                                  17    assignor estoppel discovery
                                  18    Service of limited follow-on assignor estoppel related discovery
                                  19    requests, including the identification of no more than one
                                        additional custodian and additional search terms, subject to the     November 9, 2018
                                  20    custodian and search term limits set forth in ESI order, ECF No.
                                        74
                                  21
                                        Service of written objections and responses to follow-on
                                  22                                                                         November 30, 2018
                                        assignor estoppel related discovery
                                  23
                                        Service of declarations, including those of any expert(s), related
                                                                                                             December 7, 2018
                                  24    to assignor estoppel

                                  25    Completion of deposition discovery                                   January 11, 2019

                                  26    Zscaler’s motion for partial summary judgment on assignor
                                                                                                             January 22, 2019
                                        estoppel
                                  27

                                  28    Symantec’s opposition                                                February 12, 2019

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                                   1                                     Event                                        Deadline

                                   2        Zscaler’s reply                                                     February 22, 2019
                                   3                                                                            March 14, 2019 at
                                            Hearing on summary judgment regarding assignor estoppel
                                   4                                                                            2:00 p.m.

                                   5                                                                            March 19, 2019 at
                                            Technology tutorial
                                                                                                                1:30 p.m.
                                   6
                                                                                                                April 2, 2019 at 1:30
                                   7        Claim construction hearing
                                                                                                                p.m.
                                   8
                                              The parties should note the changes to the technology tutorial and claim construction dates.
                                   9
                                       The Court’s prior orders regarding the length, format, and content of the technology tutorial and
                                  10
                                       claim construction hearing remain in effect.
                                  11
                                              Counsel may not modify these dates without leave of court. The parties shall comply with
                                  12
                                       the Court’s standing orders, which are available at cand.uscourts.gov/jstorders.
Northern District of California
 United States District Court




                                  13
                                              The parties must take all necessary steps to conduct discovery, compel discovery, hire
                                  14
                                       counsel, retain experts, and manage their calendars so that they can complete discovery in a timely
                                  15
                                       manner and appear on the noticed and scheduled dates. All counsel must arrange their calendars
                                  16
                                       to accommodate these dates or arrange to substitute or associate in counsel who can.
                                  17
                                              IT IS SO ORDERED.
                                  18
                                       Dated: September 6, 2018
                                  19
                                                                                       _______________________________________
                                  20                                                                  JON S. TIGAR
                                                                                                United States District Judge
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